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                                     UNITED STATES DISTRICT COURT

                                           DISTRICT OF OREGON

                                             MEDFORD DIVISION

OREGON SHAKESPEARE FESTIVAL                                           Civil No.: 1:15-cv-01932-CL
ASSOCIATION, an Oregon non-profit
corporation,
                                                       ORDER VACATING ORDER ON
                              Plaintiff,               MOTIONS FOR SUMMARY
                                                       JUDGMENT
            v.

GREAT AMERICAN INSURANCE
COMPANY, an Ohio for-profit corporation,

                              Defendant.


             Based on a joint stipulated request from the parties, the Court hereby vacates its

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interlocutory Order on the parties' Motions for Summary Judgment (Dkt #33) issued on June

7, 2016.

             DATED             this_&~--- day of March, 2017




                                                   RKD. CLARKE
                                                 UNITED STATES MAGISTRATE JUDGE




SUBMITTED BY:

BULLIVANT HOUSER BAILEY PC                                PARSONS FARNELL & GREIN, LLP


By s/ Douglas G. Houser                                   By s/ Michael E. Farnell (with permission)
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